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                                                                                           Ruth Brown <ruth@loevy.com>



Fwd: Kimberly Long - request for extension and offer to accept service
Megan Pierce <megan@loevy.com>                                                         Wed, Dec 15, 2021 at 4:47 PM
To: John Higginbotham <john.higginbotham@coronaca.gov>
Cc: "js@cwsl.edu" <js@cwsl.edu>, Steve Art <Steve@loevy.com>, Ruth Brown <ruth@loevy.com>, Makeba Rutahindurwa
<makeba@loevy.com>, Margaret Cunliffe <margaret@loevy.com>

 John,

 Thank you for your email. We agree to the 15-day extension and appreciate your offer to accept services on behalf of the
 named defendants. Margaret will send you the service documents in a separate email.

 Additionally, could you please cc Steve Art, Ruth Brown, and Makeba Rutahindurwa (cc'ed here) on all correspondence?
 They will be filing PHV motions soon, and I will be out starting sometime in the next few weeks on parental leave.

 Thank you and have a good vacation,

 Megan

 On Wed, Dec 15, 2021 at 2:23 PM John Higginbotham <John.Higginbotham@coronaca.gov> wrote:

   Counsel:



   I represent the City of Corona and related parties in the Kimberly Long matter.



   I am requesting a 15-day extension (through January 18, 2022) to file a responsive pleading, due in large part to the
   fact that I will be vacationing with my family starting early next until early January.



   With that extension, and assuming that you will make yourselves reasonably available to meet and confer pursuant to
   Local Rule 7-3 as to any pleading challenges we may wish to raise, I would be open to accepting service on behalf of
   any of the named defendants that you have not served, and responding to the complaint on behalf of all named
   defendants on January 18, 2022.



   I look forward to hearing from you soon, and to working with you on this case.



   Regards,



   John Higginbotham

   Assistant City Attorney

   City of Corona

   951-279-3506
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